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Exhibit D

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Disbursements Detailed Breakdown

Document Production (Photocapying: A4 / AS Black and White)

27/09/2010 Photocopying . 1,26

Document Production (Printing: A4 / AS Black and White)

02/09/2010 Printing 2.04
06/09/2010 : Printing 0.48
07/09/2010 Printing 1.08
08/09/2010 : Printing : 6.84
09/09/2010 Printing 6.36 oi
1efooszorg0 | 0 ‘ - printing 7 , ap
17/09/2040 8 printing . . . oa “> a.60
20/09/2010 , Printing - 060
24/09/2010 Printing . . ‘ . 1.68
27/09/2010 at - oo. - Printing |. . . oe oe sao
29/09/2020 - , , Prindng , sot 012

Fares, Courier Charges and Incidental Expenses (Taxis)

06/09/2010 VENDOR: Redijo Taxicabs (London) Ltd; INVGICE#; 85359; DATE? 96/00/2010 ~ TAXI MVE (Appold 32.19 ©

Street to Broomfield Street) 03/09/10

6/09/2010 . VENDOR; Radio Taxicabs (London) itd; INVOICE#: 85359; DATE: 06/09/2010 - TAXI - MVE 28.31
(Broadwaik House to Broomffeld Street) 03/09/40

07/09/2010 VENDOR: Radio Taxicabs (London) Ltd; INVOICE#: 85596; DATE: 07/09/2010 - TAX! - MVE {Applud 26.31
Street to E14) 06/09/10

17/09/2010 PAYEE: Pettycash; REQUEST#: 408475; DATE: 17/09/2040. - P/C POG Tax! - 13/09/10 #00

27/09/2040 PAYEE: Bagon, Paul; REQUEST#: 407928; DATE: 27/09/2010. - Bacs payment to reimburse 32.80

expenses PDB Taxt - 08/09/10

Transcripts (Transcripts)

27/09/2010 PAYEE; Transfer Supplier Movements; REQUEST#: 409576; DATE; 27/05/2010. - Transcript Fee 16,30
from Beverley Nunnery Re - Nortel Group (Blackburne } 14/1/2009)

195.45

